               Case: 1:18-cv-04088 Document #: 72 Filed: 11/12/19 Page 1 of 7 PageID #:847



 AO 133        (Rev. 12/09) Bill of Costs


                                                  UNITED STATES DISTRICT COURT
                                                                                              for the
                                                                           Northern District of Illinois

                             CAROLYN MILLER                                                       )
                                                                                                  )
                                            V.                                                   )         Case No.: 1:18-cv-04088
             SOUTHWEST CREDIT SYSTEMS, LP                                                        )
                                                                                                 )

                                                                                  BILL OF COSTS
 Judgment having been entered in the above entitled action on                                         10/16/2019                 against          CAROLYN MILLER
                                                                                                            Date
 the Clerk is requested to tax the following as costs:

 Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      $
                                                                                                                                                                --------
 Fees for service of summons and subpoena .. . ..... ... .. .. .. . .... . . .. ..... . ............. .

 Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .

 Fees and disbursements for printing . .. . ............. .. . . .. . . .. .... . ................ .. . .                                                                    11.85

 Fees for witnesses (itemize on page two) ..•••......••.... • .. •. ........•...•••.••..•..• . . . . .                                                                        0.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case . ................ . .... . ..................... . .. . .

Docket fees under 28 U.S .C. 1923 .. ... . .. .. ..... .. ...... .. .. . .. . ... . ................ . .

Costs as shown on Mandate of Court of Appeals .. .. .... . ... .... . .. . ... ... . ........ . .. . .. .

Compensation of court-appointed experts .... . .... . ..... .... .... . ... . . . ........ .. . .. ... .

Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 .... .

Other costs (please itemize) •.•...• . . • ..•....•••••.••..... ••• . . . • . . . . . . • • . . . • . . . . . . . . . • . •                                               1,184.20

                                                                                                                                              TOTAL         $             1,196.05
                                                                                                                                                                --------
SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                                       Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
       [lJ          Electronic service                                   D         First class mail, postage prepaid
       D            Other:
            s/ Attorney:
                          Name of Attorney : X
                                             '-'--
                                                e~ rx_e~s_M
                                                          ~ a_rt~in__________________________
For:                                             Southwest Credit Systems, LP                                                                       Date:       11/11/2019
                                                            Name of Claiming Party

                                                                                  Taxation of Costs
Costs are taxed in the amount of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ and included in the judgment.

                                                                                 By: ---------,,----=-----
                                                                                             Deputy Clerk
                          Clerk of Court                                                                                                                           Date
           Case: 1:18-cv-04088 Document #: 72 Filed: 11/12/19 Page 2 of 7 PageID #:847


AO 133 (Rev. 12/09) Bill of Costs


                                     UNITED STATES DISTRICT COURT
                                    Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)

                                                                     ATTENDANCE           SUBSISTENCE            MILEAGE
                                                                                                                                        Total Cost
           NAME , CITY AND STATE OF RESIDENCE                                  Total                Total                Total         Each Witness
                                                                     Davs      Cost       Davs      Cost      Miles      Cost


                                                                                                                                                $0.00


                                                                                                                                                $0.00


                                                                                                                                                $0.00


                                                                                                                                               $0.00


                                                                                                                                               $0.00


                                                                                                                                               $0.00


                                                                                                                   TOTAL                       $0.00

                                                                      NOTICE

 Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
 "Sec. 1924. Verification of bill of costs."
     "Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
 his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
 that the services for which fees have been charged were actually and necessarily performed."

 See also Section 1920 of Title 28, which reads in part as follows:
     "A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree."

 The Federal Rules of Civil Procedure contain the following provisions:
 RULE 54(d)(I)
 Costs Other than Attorneys' Fees.
     Unless a federal statute, these rules, or a court order provides otherwise, costs - other than attorney's fees - should be allowed to the
 prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
 may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

 RULE6
 (d) Additional Time After Certain Kinds of Service.

      When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
 added after the period would otherwise expire under Rule 6(a).
 RULE58(e)
Cost or Fee Awards:
     Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But ifa
timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.
-   -   -----------------------------------
             Case: 1:18-cv-04088 Document #: 72 Filed: 11/12/19 Page 3 of 7 PageID #:847




                          Itemized Costs and Expenses

         Carolyn Miller v. Southwest Credit Systems, LP - 1: J8-cv-04088


         CLERICAL
         Printing:                           $11.85


         Subtotal                            $11.85


         DEPOSITIONS

         Deposition of Miller, Carolyn (Trans)$792.70
         Deposition of Hazzard, Jeff (Trans) $391.50


         Subtotal                           $1,184.20



         Total                              $1,196.05
                Case: 1:18-cv-04088 Document #: 72 Filed: 11/12/19 Page 4 of 7 PageID #:847




  10/30/2019                                        Malone Frost Martin PLLC
  10:49AM                                                 Slip Listing                                    Page       1


                                                        Selection Criteria

 Slip. Classification         Open
 Clie.Selection               Include: 220-0305
 Slip. Transaction Date       1/1/2015 - 10/30/2019
 Acti. Selection              Include: Copying


 Rate Info - identifies rate source and level


 Slip ID                                              Timekeeper                    Units          Rate   Slip Value
   Dates and lime                                     Acti'"1ty                DNB Time      Rate Info
   Posting Status                                     Client                   Est. lime    Bill Status
  Description                                         Phase/Task                Variance
_3....:;;19;..;;2..;;..64=;.;.;.;..;.__~E~><P~------- LA
                                                                                      54          0.15           8.10
  6/30/2019                                               Copying
  Billed           G:28434                      6/30/2019 220-0305
  Photocopies, 54@ $.15 each.

324544                  EXP                              LA                           13          0.15           1.95
  7/31/2019                                              Copying
  Billed           G:28766                      7/31/2019 220-0305
  Photocopies, 13@ $.15 each.

329561                  EXP                              LA                           12          0.15           1.80
  8/31/2019                                              Copying
  Billed           G:29113                      8/31/2019 220-0305
  Photocopies, 12@ $.15 each.


Grand Total
                                                         Billable                   0.00                     11.85
                                                         Unbillable                 0.00                      0.00
                                                         Total                      0.00                     11.85
                  Case: 1:18-cv-04088 Document #: 72 Filed: 11/12/19 Page 5 of 7 PageID #:847




                                                                                                                          INVOICE
                            Huseby.com                                                                         Invoice No.

                                                                                                                 561382
                                                                                                                                       Invoice Data

                                                                                                                                         3/20/2019
                                                                                                                                                                    Job No,

                                                                                                                                                                     230827
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                                    Q..,,tiom.'CIII 4110) 33l-J082

                                                                                                                                        ca1aName

                                                                                                        carolyn MIiier vs. Southwest Credit Systems, LP.

            Eugene Xerxes Martin, IV, Esq.
            Malone Akerly MarUn PLLC                                                                                                  Payment Terms
            8750 N Central Expressway
                                                                                                        Due upon receipt, after 30 days 1.5% fee
            Ste 1850
            Northpark Central
            Dallas, TX 75231

   1 COPY OF TRANSCRIPT OF:
            Jeff Hazzard                                                                                                                                                      391.50

                                                                                                                         TOTAL DUE >>>                                   $391,50




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                                                                                                     Job No.              230827                BU ID           : Weinberg
  Eugene Xerxes Martin, IV, Esq.                                                                     case No.             18<V-04088
  Malone Akerly Martin PUC                                                                          case Name             carolyn MIiier vs. Southwest Credit Systems,
  8750 N Central Expressway                                                                                               LP.
  Ste 1850
  Northpark Central                                                                                 Invoice No.           561382               Invoice Date     : 3/20/2019
  Dallas, TX 75231                                                                                  Total Due             $391,50



                                                                                                      PAYMENT WITH CBCQJT CARD                           iii
                                                                                                      Clrdholder's Name:
                                                                                                      card Number:
                                                                                                      Exp. Date:                         Phone#:
Remit To:     Huseby Global Utlgatlon
              P,O,lox6180                                                                             Bllllng Address:
              Hermitage, PA 16148-0922                                                                Zip:                    card Security Code:
                                                                                                      Amount to Charge:
                                                                                                      cardholder's Signature:
                                                                                                      Emal!:
            Case: 1:18-cv-04088 Document #: 72 Filed: 11/12/19 Page 6 of 7 PageID #:847




                                                                                          INVOICE
                                                    fM


                       X                                                           Invoice No.
                                                                                      525348
                                                                                                          Invoice Date
                                                                                                               3/6/2019
                                                                                                                                     Job No.
                                                                                                                                     389986
                                                                                    Job Date                              Case No,
                 888-893-3767 / Reporting
                                                                                    2/12/2019           1:18-CV-04088
                    713-460-2525 / F.:ix
                                                                                                             Case Name
                                                                                Carolyn Miller, et al v. Southwest Credit Systems, LP.

        Patrick Watts
        Malone Frost Martin PLLC                                                                        Payment Terms
        8750 N • Central Expressway                                             Due upon receipt
        Northpark Central, Suite 1850
        Dallas, TX 75231-6454


  ORIGINAL AND 1 COPY OF TRANSCRIPT OF:
      Carolyn Miller                                                                        83.00 Pages            @         5 .30       439.90
            Exhibit                                                                         12.00 Pages            @         0.65            7.80
            Electronic Transcript Processing                                                                                30.00           30.00
            Fed Ex Shipping & Handling Delivery Fee                                                                         20.00           20.00
            Pocket Transcript/ USB Drive                                                                                    35.00           35.00
            Per Diem                                                                         2.00 Hours            @        95.00        190.00
           Electronic Transcript                                                             o.oo                  @         o.oo            0.00
           Admln/0/1                                                                                                        70.00           70.00
                                                                                            TOTAL DUE >>>                              $792,70
                                                                                            AFTER 4/5/2019 PAY                          $804.59
  INVOICE (S) DUE UPON RECEIPT AND IS NOT CONTINGENT UPON YOUR ClIENrS PAYMENT.

  ANY QUESTIONS ABOUT BILLING SHOULD BE RAISED WITHIN 15 DAYS OF RECEIPT OF INVOICE OTHERWISE THE BILLING WILL BE
  DEEMED ACCEPTED AS PRESENTED AND PAID IN FULL

  VISIT WWW.LEXITASLEGAL.COM/BILL·PAY TO MAKE A PAYMENT

  WE APPRECIATE YOUR BUSINESS.
                                                                                            (·) Payments/Credits:                        792.70

Tax ID: XX-XXXXXXX

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 Patrick Watts                                                               Invoice No.            525348
 Malone Frost Martin PLLC                                                    Invoice Date           3/6/2019
 8750 N • Central Expressway
 Northpark Central, Suite 1850                                               Total Due              $ 0,00
 Dallas, TX 75231-6454




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Remit To: Deposition Solutions, LLC DBA Lexltas                              BUID               NET-OUT·R
          P.O. Box 734298                                                    Case No.           1: 18-CV-04088
          Dept. 2001
          Dallas, TX 75373-4298                                              Case Name          Carolyn Miller, et al v. Southwest Credit
                                                                                                Systems, LP.
            Case: 1:18-cv-04088 Document #: 72 Filed: 11/12/19 Page 7 of 7 PageID #:847




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                                                                                   Invoice No.              Invoice Date              Job No.
                                                                                      525348                    3/6/2019               389986
                                                                                     Job Date                              Case No,
                 888-893-3767 / Reporting                                                                 1: 18-CV-04088
                                                                                     2/12/2019
                    713-460-2525 / Fax
                                                                                                               Case Name
                                                                                Carolyn Miller, et al v. Southwest Credit Systems, LP.

        Patrick Watts
        Malone Frost Martin PLLC                                                                          Payment Terms
        8750 N . Central Expressway                                             Due upon receipt
        Northpark central, Suite 1850
        Dallas, TX 75231-6454

                                                                                             ( +) Finance Charges/Debits:                    11.89
                                                                                             ( =) New Balance:                              $0,00




Tax ID: XX-XXXXXXX

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 Patrick Watts                                                               Invoice No.            525348
 Malone Frost Martin PUC                                                     Invoice Date           3/6/2019
 8750 N . Central Expressway
 Northpark Central, Suite 1850                                               Total Due              $   o.oo
 Dallas, TX 75231-6454




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Remit To: Deposition Solutions, LLC DBA Lexitas                              BUID                   NET-OUT-R
          P.O. Box 734298                                                    Case No.               1:18-CV-04088
          Dept. 2001
          Dallas, TX 75373-4298                                              Case Name              Carolyn Miller, et al v. Southwest Credit
                                                                                                    Systems, LP.
